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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                              Case No. 4:12CR00213-005 KGB

ROBIN NELSON-FLANAGAN                                                              DEFENDANT

                                            ORDER

       The defendant Robin Nelson-Flanagan has notified the Court that she will be filing an

additional motion prior to sentencing. To allow sufficient time for all to be heard regarding the

issues Ms. Nelson-Flanagan intends to raise in her motion, she has requested that the sentencing in

this matter be continued.

       Therefore the sentencing in this matter is removed from this Court’s calendar for Tuesday,

March 18, 2014, and will be reset by amended notice.

       SO ORDERED this 14th day of March, 2014.


                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
